
689 N.W.2d 229 (2004)
PEOPLE
v.
LARGE
No. 127142.
Supreme Court of Michigan.
November 29, 2004.
SC: 127142, COA: 253261.
On order of the Court, the application for leave to appeal the August 10, 2004 judgment of the Court of Appeals is considered, and it is GRANTED. The parties are directed to include among the issues to be briefed: (1) whether the "substantial" cause language in People v. Lardie, 452 Mich. 231, 551 N.W.2d 656 (1996), is consistent with the statute; (2) whether MCL 257.625(4)'s requirement that the prosecutor establish that the defendant's "operation of that motor vehicle causes the death of another person" requires the prosecutor to establish that the defendant's operation of the motor vehicle was affected by his intoxicated state; (3) whether the statute obligates the prosecutor to show that the defendant's driving at the time of the accident was a proximate cause of another person's death; (4) whether it is sufficient that the prosecutor establish only that the defendant decided to drive while intoxicated, and that a death resulted; and (5) if so, whether the statute violates the equal protection clause of the Michigan Constitution, Const. 1963, art. 1, § 2, or the equal protection *230 clause of the federal Constitution, Am. XIV, or is otherwise unconstitutional.
We further ORDER that this case be argued and submitted to the Court together with the case of People v. Schaefer (Docket No. 126067), at such future session of the Court as both cases are ready for submission.
